       Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 1 of 20




Paul C. Echo Hawk (ISB # 5802)              William F. Bacon, General Counsel (ISB # 2766)
ECHO HAWK LAW OFFICE                        P.O. Box 306
P.O. Box 4166                               Fort Hall, Idaho 83203
Pocatello, Idaho 83205                      Telephone: (208) 478-3822
Telephone: (208) 705-9503                   Facsimile: (208) 237-9736
Facsimile: (208) 904-3878                   SHOSHONE-BANNOCK TRIBES
paul@echohawklaw.com                        bbacon@sbtribes.com

Jill E. Grant (DCB #358306) (pro hac vice)
Andrea E. Gelatt (CAB #262617) (pro hac vice)
JILL GRANT & ASSOCIATES, LLC
1319 F Street, NW
Washington, D.C. 20004
Telephone: (202) 821-1950
Facsimile: (202) 459-9558
jgrant@jillgrantlaw.com

Attorneys for the Shoshone-Bannock Tribes

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

SHOSHONE-BANNOCK TRIBES OF THE                  )
FORT HALL RESERVATION,                          )   Case No. 4:20-cv-00553
                                                )
       Plaintiff,                               )
v.                                              )   PLAINTIFF SHOSHONE-
                                                )   BANNOCK TRIBES’
LAURA DANIEL-DAVIS, Principal Deputy            )   OPPOSITION TO MOTION TO
Assistant Secretary for Land and Mineral        )   STRIKE THE DECLARATIONS
Management, et al,                              )   OF KELLY WRIGHT AND
                                                )   NATHAN SMALL [ECF No. 59]
       Defendants,                              )
                                                )
        and                                     )
                                                )
J.R. SIMPLOT COMPANY                            )
                                                )
       Defendant-Intervenor.                    )
                                                )
           Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 2 of 20




       Plaintiff Shoshone-Bannock Tribes (Tribes) submit this memorandum in opposition to the

motion to strike filed by Defendant-Intervenor J.R. Simplot Company (Simplot), ECF No. 59.

                    INTRODUCTION AND PROCEDURAL HISTORY

       Simplot, in the guise of a motion to strike, has continued to submit improper advocacy

pieces in an attempt to divert the Court’s attention from the legality of the challenged land

exchange.1 Without seeking leave of Court, Simplot submitted, along with its motion, two

additional declarations providing extra-record, post-decisional information about its efforts to

address contamination from its operations. For the reasons below, the Court should deny Simplot’s

motion and decline to consider Simplot’s declarations.

       The Tribes filed this litigation to challenge the August 12, 2020, Blackrock Land Exchange

Record of Decision (ROD), issued by the United States Department of the Interior (DOI) and

approving a land exchange that will result in the expansion of the Simplot Don Plant

phosphogypsum stack (gypstack) located at the Simplot Operating Unit (OU) of the Eastern

Michaud Flats (EMF) Superfund site. By expanding the gypstack, the life of the Simplot Don Plant

will be extended by an estimated 65 years.2 The Simplot OU is upgradient of the Fort Hall

Reservation, has contaminated the Reservation for decades, and will continue to contaminate it for

decades longer because of the land exchange that facilitates the expansion of the gypstack.

       From the beginning, the Tribes have stated that they intended to file declarations to support

their standing in this case. J. Litig. Plan, ECF No. 23 at 3 (“The Shoshone-Bannock Tribes intend

to submit declarations for the purposes of establishing standing, which is standard practice for



       1
          See Mem. Decision & Order, ECF No. 33 at 5, regarding Simplot’s motion to consider
extra-record documents, discussed below.
        2
          See Simplot’s Mem. in Supp. of Cross-Mot. for Summ. J. at 25 (Simplot SJ Mem.), ECF
No. 60-1; Fed. Defs.’ Mem. in Supp. Of Cross-Mot. Summ. J. at 33 (Fed. SJ Mem.), ECF No. 61-
1.

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 2
           Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 3 of 20




agency action review cases.”). The Tribes submitted the declarations of Kelly Wright and Nathan

Small with their summary judgment brief and cited them only to support standing arguments. See

SBT Mem. in Supp. of Mot. for Summ. J. (SBT Mem.), ECF No. 37-1 at 9; Decl. Kelly Wright

(Wright Decl.), ECF No. 37-4; Decl. Nathan Small (Small Decl.), ECF No. 37-17.3 Simplot and

Federal Defendants filed their combined summary judgment response briefs and briefs in support

of their Cross-Motions for Summary Judgment in August 2022. In those briefs, neither party

seriously contests the Tribes’ standing to bring the case. At the same time as filing its merits brief,

Simplot filed a Motion to Strike the Tribes’ standing declarations and attached their own

declarations (the fourth declaration by Alan Prouty that Simplot has submitted in this proceeding,

along with one by Andrew Koulermos). See ECF No. 59.4 In several paragraphs of his latest

declaration, Alan Prouty quotes and characterizes EPA’s Second Five-Year Review Report (2020)

and its attachments, which is also attached to the Wright Declaration. See Decl. Alan Prouty

(Prouty Decl.), ECF No. 59-2 ¶¶ 5-11, 13, 17; Wright Decl., ECF No. 37-9. In places, Prouty

reiterates prior declarations. Compare, e.g., ECF No. 59-2 ¶ 18 n.6, with ECF No. 6-2 ¶¶ 13-14.

       Separately, before summary judgment briefing began, Simplot moved for consideration of

extra-record material, including by submitting the first Prouty declaration in support of its motion

for intervention. See ECF No. 26. As Simplot explained, the first Prouty declaration, ECF No. 6-

2, described the “time, energy, and material resources” that Simplot has invested since the Court’s

decision in Shoshone-Bannock Tribes v U.S. Dep’t of the Interior, No. 4:10-cv-004-BLW, 2011




       3
          In their merits brief, the Tribes also cited a letter from the Tribes to BLM dated February
7, 2020, which was attached to the Small Declaration. SBT Mem. at 8, 11. The letter predated the
ROD but was not included in the Administrative Record.
        4
          Simplot subsequently submitted an amended memorandum in support of its Motion, so
for ease of reference all citations to Simplot’s memorandum are to the amended version. Simplot
Am. Memo. in Supp. Mot. to Strike, ECF No. 64 (Simplot Mem.).

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 3
              Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 4 of 20




WL 1743656 (D. Idaho May 3, 2011) [Blackrock I].” Simplot Mem. in Supp. of Mot. for the Court

to Consider Extra-Record Material, ECF No. 26-1 at 9.5 The Court denied Simplot’s motion to

consider the first Prouty declaration because it was an advocacy document:

          Simply put, [the Prouty declaration] appears to be an advocacy document, with the primary
          purpose of describing the substantial efforts Simplot has made to comply with prior court
          orders. In its briefing, Simplot repeatedly offers the conclusion that the Prouty affidavit
          will assist the Court in dealing with the technical terms and complex subject matter
          involved in this case. However, it provides no explanation as to how the affidavit will do
          so.

Order, ECF No. 33 at 5. The Court allowed consideration of Exhibit G to the Prouty declaration,

which included several 2020 EPA reports, “with the caveat that [Exhibit G] cannot be used or cited

to challenge the wisdom of the agency decision at issue in this case.” ECF No. 33 at 5 (referring

to ECF No. 6-1, Ex. G). Exhibit G includes Appendices L-N to EPA’s Second Five-Year Review

Report.

                                                ARGUMENT

          This Court’s standing order notes that motions to strike declarations are disfavored and that

objections should instead be contained within the summary judgment briefing or in a separate

appendix. Simplot’s Motion to Strike should be denied as an attempt to evade the Court’s page

limits and for failure to comply with the Court’s procedures.

          The motion should also be denied as moot. No party seriously contests the Tribes’ standing:

Federal Defendants have not opposed standing at all and, in its summary judgment brief, Simplot

does not meaningfully do so either. The Tribes challenge a land exchange that will extend the life

of Simplot’s Don Plant and the size of the accompanying gypstack, both of which have

contaminated the Tribes’ reservation for decades. Regardless of environmental controls or state-




          5
              Citations to filings in this case refer to the internal pagination of the document.

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 4
         Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 5 of 20




of-the-art technological fixes, the Don Plant will continue to contaminate the water, air, soils, and

vegetation in the area until long after the plant is closed and the area remediated. Standing in this

case is not a close question. As explained below, the Tribes have amply shown that they have

standing to bring this litigation, even without resolving Simplot’s Motion to Strike.

        In addition, Simplot’s motion is meritless. The Tribes’ declarations are submitted to

support standing and therefore Simplot’s arguments that they should be stricken as extra-record

material that does not meet one of the Lands Council v. Powell, 395 F.3d 1019, 1030 (9th Cir.

2005) (Lands Council) exceptions should be rejected.

        Simplot’s evidentiary arguments about relevance, foundation, and hearsay also fail. The

Wright and Small Declarations provide factually supported explanations for the kinds of injuries

the Tribes will suffer from the land exchange. The declarations are also made with sufficient

foundation and not based on impermissible hearsay. Kelly Wright is the long-standing program

manager of the Tribes’ Environmental Waste Management Program (EWMP) and supervises that

program’s activities with respect to the EMF. Nathan Small is the current Chairman of the Fort

Hall Business Council and, at the time he submitted his declaration, had served as a Council

Member for decades and previously served as Chairman. Given that knowledge base, the Tribes’

declarants are more than qualified to provide facts regarding the Tribes’ relationship with its

Reservation, areas subject to off-reservation treaty rights, ongoing contamination affecting the area

in and around the Reservation, and the other subjects of their declarations.

   I.      Motions to Strike are Strongly Disfavored and Should be Denied.

        Simplot’s Motion to Strike did not identify the rule under which Simplot was proceeding.

The Federal Rules of Civil Procedure do not provide for striking declarations submitted as part of

the summary judgment procedure and, as this Court’s procedural order notes, motions to strike are



PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 5
             Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 6 of 20




disfavored and any objections may be contained within the summary judgment briefing or in a

separate appendix. J. Winmill’s Mot. Prac.6 See also Wolf v. Otter, No. 1:12-CV-00526-BLW,

2014 WL 2504542, at *5 (D. Idaho June 3, 2014), aff'd sub nom. Wolf v. Idaho State Bd. of Corr.,

772 Fed. Appx. 557 (9th Cir. 2019).

         Filing a separate motion to strike allows a party to file additional pages, exceeding the

limitations set for the merits briefing. See, e.g., TDY Indus., LLC v. BTA Oil Producers, LLC, No.

2:18-CV-0296-SWS/MLC, 2019 WL 12661227, at *1 (D.N.M. June 5, 2019) (“The Court is wary

of Defendant’s attempt to evade the page limitations and get further briefing on why it believes

the Court should not consider Plaintiff’s evidence.”). Here, by moving to strike, Simplot provided

itself 20 extra pages and two declarations beyond the briefing limits, see Scheduling Order, ECF

No. 24 at 4, rather than including these arguments in its summary judgment brief.7 The Court

should deny the motion for both of these reasons.8

   II.        The Tribes’ Declarations were Submitted in Support of Standing and Therefore
              Extra-Record Materials are Appropriate and Simplot’s Arguments regarding
              Extra-Record Materials are Inapposite.

         As the Tribes explained in the joint litigation plan, ECF No. 23 at 3, the Tribes submitted

the Kelly Wright and Nathan Small declarations in support of their standing arguments, not their

merits arguments. See ECF No. 37-1 at 9. For that reason, Simplot’s argument that the declarations




         6
            Available at https://www.id.uscourts.gov/district/judges/winmill/Motion_Practice.cfm
(last accessed, Sept. 30, 2022).
        7
           It is possible that Simplot made this choice because Simplot does not (and could not)
meaningfully contest standing in its merits brief and therefore could not use its summary judgment
brief to respond to the Tribes’ declarations. Thus, Simplot used another (impermissible) vehicle to
attempt to reframe the case.
        8
          Simplot also created unnecessary work for the Tribes, who were forced to respond to the
motion, with the resulting waste of time, money, and other resources.

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 6
           Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 7 of 20




should be stricken because they are extra-record support for the Tribes’ merits arguments entirely

misses the mark.

       A. The Wright and Small Declarations Are Appropriately Considered for Standing
          Purposes.

       The parties agree that the Court’s review of the ROD and its supporting documentation is

limited to the administrative record and any documents that satisfy the exceptions in Lands

Council. See Simplot Mem. at 4; J. Litig. Plan, ECF No. 23 at 2-3. They also acknowledge that it

is a plaintiff’s burden to establish standing. ECF No. 23 at 3. As courts have explained, unless

standing is self-evident, a plaintiff “must supplement the record to the extent necessary to explain

and substantiate its entitlement to judicial review.” Sierra Club v. EPA, 292 F.3d 895, 900 (D.C.

Cir. 2002) (emphasis added); see also Nw. Env't Def. Ctr. v. Bonneville Power Admin., 117 F.3d

1520, 1528 (9th Cir. 1997). Standing does not go to the merits of the agency’s decision-making

and thus standing declarations do not need to meet the Lands Council exceptions to be considered.

Nw. Envt Def. Ctr., 117 F.3d at 1527. For this reason, the Court may reject Simplot’s arguments

that the declarations are improper extra-record information.

       Moreover, the Tribes made a sufficient showing of standing that neither the Federal

Defendants nor Simplot seriously contests in their merits briefing.9 The Tribes based their showing

on the impacts that the land exchange will have on human health, the reservation environment, and




       9
           Simplot does not contest the Tribes’ standing in the argument sections of its merits brief.
See Fed. SJ Mem. at 9 n.1. (noting that no party contests standing). However, it suggests in a
footnote addressing the appropriate remedy that “the Tribes have not met their burden to establish
that the injuries of which they complain in their standing declarations are redressable by this
Court.” See Simplot SJ Mem. at 48 n.20. Federal Defendants do not join this argument, which in
any event is incorrect. The Tribes do not seek an “extraordinary remedy,” id. at 48; on the contrary,
it is settled law that a court can order relief to unwind the harmful aspects of an unlawful land
exchange. See, e.g., Muckleshoot Indian Tribe v. U.S. Forest Serv., 177 F.3d 800, 814 (9th Cir.
1999).

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 7
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 8 of 20




off-reservation treaty rights by increasing and prolonging the ongoing pollution from the Simplot

Don Plant. SBT Mem. at 9.10

       B. The Court May Deny Simplot’s Motion to Strike as Moot Because the Tribes Have
          Demonstrated Their Standing to Bring This Litigation Based on Uncontested
          Statements of Fact.

       The Tribes easily clear the legal hurdle for standing based on the uncontested portions of

the Wright and Small declarations and uncontested statements of fact. There is therefore no need

for the Court to address Simplot’s Motion to Strike.

       To satisfy the requirements of Article III standing, a plaintiff must have suffered an injury

in fact that is fairly traceable to the defendant’s conduct and that is likely to be redressed by a

favorable decision. Friends of the Earth, Inc. v. Laidlaw Env’t. Servs. (TOC), Inc., 528 U.S. 167,

180-81 (2000). Future injuries are sufficient if “threatened injury is certainly impending, or there

is a substantial risk that the harm will occur.” Dep't of Com. v. New York, -- U.S. --, 139 S. Ct.

2551, 2565 (2019). Injuries to aesthetic values also are cognizable for Article III purposes.

Washington Env't Council v. Bellon, 732 F.3d 1131, 1140 (9th Cir. 2013).11

       Simplot does not object to key paragraphs of the Wright and Small Declarations that

support the Tribes’ standing. For example, it does not object to the following: “[t]he construction

of the cooling ponds and an expanded gypsum stack on the federal land also would alter the




       10
           The Tribes previously challenged a land swap involving very similar parcels and the
same parties, and standing was not challenged. See generally Blackrock I.
        11
           In addition, the U.S. Supreme Court recently explained that courts must “hold the
government to its word” in enforcing treaty promises. See McGirt v. Oklahoma, -- U.S. --, 140 S.
Ct. 2452, 2459 (2020). Although no court has so held, an alleged breach of a tribe’s treaty rights
threatens a concrete injury to a tribe. Cf. Confederated Tribes & Bands of Yakama Nation v.
Yakima Cnty., 963 F.3d 982, 989 (9th Cir. 2020) (holding that an asserted infringement on tribal
sovereignty “is sufficiently concrete, particularized, and imminent to show injury in fact”), cert.
denied sub nom. Confederated Tribes & Bands of Yakama Nation v. Yakima Cnty., Washington,
141 S. Ct. 2464, 209 L. Ed. 2d 528 (2021).

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 8
           Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 9 of 20




existing visual character of the mountainside, which is surrounded by undeveloped lands to the

west, south, and east of the federal land.” Wright Decl. ¶ 25; see Simplot Mem. at 8 (no argument

concerning Wright Decl. ¶ 25). As the BLM explains in its Final Environmental Impact Statement

(FEIS), “[t]he Tribes place great intrinsic value on the Howard Mountain area and the Federal

lands offered for exchange. The Tribes value the area for its uniqueness and the relation their

people have with the natural surroundings.” FEIS at 3-23 (AR0029616). Simplot also does not

object to Chairman Small’s statement that “[t[he Tribes consider the area as a whole to be a

significant traditional cultural landscape that provides a valuable picture of the Tribes’ ancestral

relationship to the area.” Small Decl. ¶ 8; see Simplot Mem. at 19-20 (no argument concerning

Small Decl. ¶ 8). The admitted visual impacts to the Tribes’ valued places are alone sufficient to

establish a cognizable injury for Article III purposes.

       Simplot also does not meaningfully contest key facts submitted as part of the Tribes’

Statement of Material Facts, ECF No. 37-3, that support standing. Defendants do not object to the

Tribes’ statement that areas to be affected by Simplot’s construction of the cooling ponds and

expanded gypstack are important for subsistence fishing and cultural practices. For example, no

party objects to the following statements:

       •    “[t]he Tribes rely on the [Portneuf] river and the Fort Hall Bottoms for subsistence
            fishing, hunting, and gathering. The area is also vital to the Tribes’ historical cultural
            practices, including the Sundance.” See Tribes’ Statements of Fact ¶ 3, Fed. Defs.’
            Resp. Tribes’ Statements of Fact ¶ 3; Simplot Resp. to Tribes’ Statement of Fact ¶ 3.12

       •    “The Fort Hall Reservation is adjacent to, and downgradient from, the lands on Howard
            Mountain and the EMF Site [which contains the Don Plant and its gypstack].” Tribes’



       12
          Defendants also do not object the following statement: “The Tribes maintain and practice
their Treaty rights on the current Reservation, the ceded lands, aboriginal territory, and unoccupied
lands of the United States.” See Tribes’ Statements of Fact, ECF No. 37-3 ¶ 4, Fed. Defs.’ Resp.
Tribes’ Statements of Fact, ECF No. 63-1 ¶ 4; Simplot Resp. to Tribes’ Statement of Fact, ECF
No. 62 ¶ 4.

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 9
          Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 10 of 20




               Statements of Fact ¶ 7, Fed. Defs.’ Resp. Tribes’ Statements of Fact ¶ 7 (not disputing
               the quoted sentences); Simplot Resp. to Tribes’ Statement of Fact ¶ 7 (same).

          Simplot admits that the gypstack contains chemicals known to have adverse impacts to air,

land, water, and human health, and that the phosphogypsum waste produced by the plant and stored

in the gypstack contains arsenic, sulfate, phosphorous, radioactive components, and other

contaminants. See Wright Decl. ¶ 17; Simplot Mem. at 6 (no argument concerning paragraph 17).

Moreover, all parties agree that the Tribes lost areas in the exchange where they previously

exercised their off-reservation treaty rights: “the federal lands transferred to Simplot in the

challenged land exchange are within the Tribes’ aboriginal homelands as set forth in the 1868 Fort

Bridger Treaty.” Tribes’ Statements of Fact ¶ 7, Fed. Defs.’ Resp. to Tribes’ Statement of Fact ¶

7 (not disputing the quoted sentences in paragraph 7); Simplot Resp. to Tribes’ Statement of Fact

¶ 7 (same).13

          The foregoing uncontested facts sufficiently establish the Tribes’ injuries, which are

redressable by a favorable order on the Tribes’ claims. The Court should therefore deny the Motion

to Strike as moot and move to the merits of this case.

   III.        Simplot’s Evidentiary Arguments as to Relevance are Misplaced because the
               Declarations address the Key Prongs of Standing, including the Tribes’ Showing
               of Injury from Simplot’s Operations and of Additional Injury from the Land
               Exchange, which will Add to the Pollutant Load and Allow Simplot’s Operations
               to Continue.
          Standing requires a showing of concrete and imminent injury. A plaintiff must have

suffered an injury in fact that is fairly traceable to the defendant’s conduct and that is likely to be

redressed by a favorable decision. Friends of the Earth, 528 U.S. at 180-81. A procedural injury

resulting from a governmental failure to provide required processes that, if followed, could have



          13
          As Federal Defendants straightforwardly acknowledge in their summary judgment brief,
“the Tribes’ off-reservation treaty right will be impacted.” Fed. Mem. at 27-28.

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 10
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 11 of 20




protected against a concrete injury can also form the basis for standing. See Cottonwood Env't L.

Ctr. v. U.S. Forest Serv., 789 F.3d 1075, 1081 (9th Cir. 2015) (finding a concrete injury based on

the government’s failure to reinitiate consultation under the Endangered Species Act) (citing

Sierra Forest Legacy v. Sherman, 646 F.3d 1161, 1179 (9th Cir. 2011)). Declaration testimony

about a plaintiff’s concrete injuries from a defendant’s activities is relevant to the standing inquiry.

See, e.g., Cantrell v. City of Long Beach, 241 F.3d 674, 680 (9th Cir. 2001) (“The birdwatchers’

averments that they had visited the affected area in the past and that the defendant’s challenged

activity would impede their ability to appreciate and use the specified area are sufficient to

establish that they have suffered an injury to a concrete and particularized interest.”).

        The Tribes’ declarations provide evidence that is relevant to the Tribes’ standing. They

therefore satisfy the evidentiary standard applicable to declarations submitted in support of a

summary judgment motion. Federal Rule of Civil Procedure Rule 56(c)(4) provides that “[a]n

affidavit or declaration used to support or oppose a motion must be made on personal knowledge,

set out facts that would be admissible in evidence, and show that the affidavit or declarant is

competent to testify on the matters stated.” See Am. Fed'n of Musicians of United States & Can. v.

Paramount Pictures Corp., 903 F.3d 968, 976–77 (9th Cir. 2018).

        The Wright and Small declarations meet both the standing requirement to provide facts

attesting to the Tribes’ injuries, discussed in Part A below, and the evidentiary requirements of

Fed. R. Civ. P. 56(c)(4), in that they are provided by competent declarants based on their personal

knowledge, as discussed in Part B below.




PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 11
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 12 of 20




        A. Simplot’s Arguments as to Relevance Are Misplaced.

        Simplot seeks to strike many paragraphs from the Wright and Small declarations on the

basis that they are not relevant to the litigation. Because these paragraphs are relevant to the Tribes’

standing, Simplot’s arguments should be rejected.

        For example, Simplot seeks to strike paragraphs in the Wright Declaration that provide a

description of the Waste Management Act passed by the Fort Hall Business Council (FHBC),

Wright Decl. ¶¶ 15-16, by asserting that the description “goes beyond standing.” Simplot Mem. at

6, § II.1.c. That argument should be rejected because the Act itself and the existence of the Tribes’

Environmental Waste Management Program that was established under that Act show both the

Tribes’ concrete interest in the environment and Mr. Wright’s responsibility for managing that

program, as well as the knowledge, experience, and expertise he has gained from doing so.

Wright’s discussion of the Tribes’ exercise of off-reservation treaty rights, Wright Decl. ¶¶ 19-20,

likewise shows the Tribes’ concrete interest. Simplot Mem. at 6-7, § II.1.d-e. Wright’s description

of the use of land near Howard Mountain for temporary COVID housing, Wright Decl. ¶ 22, is

also directly relevant to the Tribes’ standing, contrary to Simplot’s objection. Simplot Mem. at 7-

8, § II.1.g. The use of land, including for housing, shows the Tribes’ interest in the land,

establishing a basis for showing that contamination of the land from Simplot’s expanded gypstack

and continued operations would cause an injury to the Tribes. Likewise, Simplot’s suggestion that

statements in Small Decl. ¶¶ 11-12 are not relevant to the Tribes’ standing because the statements

“pertain to the general area around the exchanged land,” Simplot Mem. at 19, § II.2.b, seem to

misunderstand that the Tribes’ likely injuries from soil, water, and air contamination from the

expanded gypstack and cooling ponds will not be confined to the exchanged parcel. Historic

contamination patterns and ground and surface water flows have not been so circumscribed.



PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 12
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 13 of 20




       Simplot’s assertions that declaration testimony about previous contamination and

regulatory exceedances should be stricken as not relevant are similarly misplaced. See Simplot

Mem. at 11, 14, §§ II.1.r, z, aa. Despite Simplot’s assertions that discussions of fluoride

exceedances and Resource Conservation and Recovery Act (RCRA) violations in Wright Decl.

paragraphs 35-36, 44-47 have no bearing on standing, they in fact are relevant because Simplot’s

past actions show the kinds of injuries that the Tribes expect to face going forward. See Am.

Commc’ns Assn. v. Douds, 339 U.S. 382, 413-14 (1950) (determining that past actions are

indicative of future conduct). Meanwhile, contrary to Simplot’s objection to Wright Decl. Exhibits

9 and 10, Simplot Mem. at 15, § II.1.bb & cc, they also show that regulations alone have not been

enough to prevent harm in the past and most likely will not prevent harm in the future either.

Wright Decl. ¶¶ 48-49. These paragraphs also address the broader pattern of injuries that the Tribes

reasonably anticipate that they are likely to suffer.

       Wright’s declaration testimony about the impacts of the Tribes’ inability to comment on

certain aspects of the FEIS, Wright Decl. ¶¶ 51, 54, is also relevant to the Court’s standing inquiry,

notwithstanding Simplot’s claim that Wright does not “draw a connection to any injury, or facts.”

Simplot Mem. at 15-16, § II.1.dd; see also id. at 17, § II.1.gg. The Ninth Circuit has on several

occasions recognized the significance of procedural injuries. Cottonwood Env’t L. Ctr., 789 F.3d

at 1081. Here, as in those cases, the Tribes’ procedural injury is directly relevant to the concrete

harms that the Tribes face. As the Wright Declaration notes, “the FEIS selected a new alternative,

approved by the ROD, with a significantly larger expansion to the east and south that would

increase the surface disturbance area to 273.3 acres.” Wright Decl. ¶ 51. Testimony that this new

alternative did not go through the full, required NEPA process and will injure the Tribes’ treaty

interests and land management capacity is relevant to the Tribes’ standing.



PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 13
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 14 of 20




       The rest of Simplot’s relevance objections suffer from the same or similar failures to

acknowledge the purpose of the declarations. For example, Simplot objects to the relevance of

Wright Decl. ¶ 37, which discusses concerns with injuries from fluoride contamination. Simplot

Mem. at 12, § II.1.s. Similarly, Simplot in its Mem. at 18, § II.1.kk, objects to Wright Decl. ¶ 59,

which discusses Simplot’s work plan and the uncertainties it identified with “stratigraphy,

groundwater quality and groundwater flow directions,” id. (quoting Exhibit 12 to Wright Decl.),

uncertainties that are clearly relevant to standing because they show that the full breadth of

contamination from the facilities is not understood. In short, the Tribes’ declarations are relevant

to their standing allegations and should be considered in their entirety.

       B. Simplot’s Objections as to Foundation Erroneously—and Offensively—Dispute
          Wright’s and Small’s Expertise Regarding Their Own Jobs.

       Simplot also challenges Chairman Small’s and Mr. Wright’s personal knowledge, based

on Fed. R. Evid. 602. That rule requires that “a witness must have ‘personal knowledge of the

matter’ to which she testifies.” Lowry v. City of San Diego, 858 F.3d 1248, 1256 (9th Cir. 2017)

(internal citations and quotations omitted). Both declarations meet this standard. A government

official who reviews the Tribes’ records and “who testifies on the basis of information acquired

through the performance of his or her official duties” meets the standard for personal knowledge

“since that person may be deemed competent by the court to testify as to those records.” Ecological

Rts. Found. v. U.S. EPA, 541 F. Supp. 3d 34, 47 (D.D.C. 2021) (collecting cases) (internal

quotation marks and citations omitted). This standard applies even if statements concern events

that occurred before the declarant became responsible for dealing with the problems relevant to

the litigation. In re Texas E. Transmission Corp. PCB Contamination Ins. Coverage Litig., 870 F.

Supp. 1293, 1304 (E.D. Pa. 1992), aff'd, 995 F.2d 219 (3d Cir. 1993), vacated (Jan. 6, 1994), on




PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 14
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 15 of 20




reh'g, 15 F.3d 1230 (3d Cir. 1994), and opinion reinstated in part, 15 F.3d 1249 (3d Cir. 1994),

and aff'd in part, 15 F.3d 1230 (3d Cir. 1994), and aff'd, 15 F.3d 1249 (3d Cir. 1994).

       Simplot does not object to the description of Wright’s extensive experience and role

working for the Tribes, which is outlined in the first nine paragraphs of his declaration. Simplot

Mem. at 5-6, § II.1.a. Consistent with the caselaw discussed supra, this experience forms a solid

foundation for Wright’s statements about the exchanged lands and other land holdings as well as

his knowledge about where Tribal members have hunted and maintained cultural practices and

where the contamination from the existing gypstack and intended expansion of that gypstack is or

is likely to be found. As the Program Manager of the EWMP, which includes responsibility for

activities related to Superfund sites under the Comprehensive Environmental Response,

Compensation, and Liability Act (CERCLA), as well as sites subject to RCRA, see Wright Decl.

¶ 5, Wright has been extensively involved in consultations, technical meetings, and other

discussions with EPA regarding contamination issues stemming from the Simplot Don Plant,

which is part of the EMF Superfund site listed on the National Priorities List under CERCLA and

which also raises issues under RCRA. These meetings and discussions have included Simplot’s

plans for designing and constructing an expansion to the gypstack that is required for operation of

the plant. See Wright Decl. ¶¶ 2-3, 5.14

       In fact, throughout his declaration Wright displays the extensive personal knowledge he

has gained working for the Tribes. In Wright’s discussion of harms to the Tribes’ homeland and




       14
          Confusingly, Simplot objects to portions of Wright’s declaration that it elsewhere admits
to be true. For example, it objects on the basis of foundation to Wright’s statement that there are
public wells within 3 miles of the area that provide drinking water to 55,000 people and irrigate
over 2000 acres of crops, Simplot Mem. at 7, § II.1.f, but in a separate filing, Simplot admits that
this fact is true. See Simplot Resp. to Tribes’ Statement of Fact ¶ 12 (not disputing the final
sentence of paragraph 12 to the extent it describes the number of wells and their location).

PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 15
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 16 of 20




environment, he details his knowledge of the land, the Tribes’ interaction with it, and how this

land exchange will harm both the land and the Tribes. He further outlines his knowledge of the

expanding gypstack and how this expansion will harm the Tribes: “Expanding the gypsum stack

will adversely impact the Tribes’ ability to offer housing to Tribal members in the Michaud Creek

area and to govern and plan effectively for the health and well-being of the Tribal membership.”

Wright Decl. ¶ 22. Simplot’s disagreement with Wright’s assertion neglects to address the

relevance of such assertions to standing.

       Simplot also questions Chairman Small’s knowledge of what makes the land meaningful

to the Tribes, including the history of the land and cultural sites and artifacts, arguing that Small

does not have firsthand knowledge of this information. Simplot Mem. at 18-19, § II.2.a-b.

Simplot’s questioning of Chairman Small’s knowledge is, frankly, astounding. Chairman Small is

a Tribal elder who not only serves as Tribal Chairman but has served on the FHBC in one capacity

or another for many terms. In all these capacities, Chairman Small would have firsthand

knowledge of tribal land, cultural sites, and artifacts.

       In any event, Simplot’s objections to the Small Declaration fail for the same reasons as

their objections to the Wright Declaration fail. As noted above, an affiant may have personal

knowledge based on what he or she learns through official duties and would be competent to testify

based on that knowledge. See supra; Ecological Rts. Found., 541 F. Supp. 3d at 47; In re Texas

Eastern Transmission Corp. PCB Contamination Ins. Coverage Litigation, 870 F. Supp. at 1303-

04. Chairman Small is qualified both through his own firsthand knowledge as a Tribal member

and through knowledge he has obtained in his official duties. Decl. Small ¶ 3. In his official

capacity as Tribal Chairman or Council member for much of his adult life, he is responsible for

protecting the Tribes’ lands and resources. See, e.g., Small Decl. ¶ 4; Constitution for the



PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 16
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 17 of 20




Shoshone-Bannock Tribes of the Fort Hall Reservation, Article VI, Sec. 1(a), (c), (l), (q). In

addition, Chairman Small hears about these issues from meetings with the Tribal membership.

Chairman Small furthermore is frequently briefed on these issues, as well as on environmental

issues such as the groundwater contamination Simplot mentions, by the Tribes’ technical staff.

Small Decl. ¶ 2.

       C. Moreover, the Wright Declaration Relied in Large Part on the Administrative
          Record and the Attachments to the Wright Declaration may be Judicially
          Noticed as Government Records and Considered in Support of the Tribes’
          Standing.

       A court may take judicial notice of “matters of public record that are not subject to

reasonable dispute,” Teixeira v. Cty. of Alameda, 873 F.3d 670, 699 n.6 (9th Cir. 2017), and

“records and reports of administrative bodies,” United States v. 14.02 Acres, 547 F.3d 943, 955

(9th Cir. 2008) (internal citations and quotations omitted). Mem. Decision & Order, ECF No. 33

at 6-7 (citing and quoting cases). The attachments to the Wright Declaration are subject to judicial

notice because they are government documents or portions thereof. In fact, one of the attachments

to Wright’s Declaration is EPA’s Second Five-Year Report, and the Court has already judicially

noticed several of its appendices. See ECF No. 33 at 6-7.

       In his declaration, Wright accurately cites and refers to judicially noticeable documents

that provide additional support for his assertions regarding ongoing air emissions and groundwater

contamination, both of which represent a concrete “injury in fact” to the Tribes. Wright provides

additional foundation for statements about groundwater contamination in Exhibit 1 to his

declaration (“Groundwater/Surface Water Remedy 2020 Annual Report Simplot Don Plant” dated

March 2021) and Exhibit 2 (“Third Quarter 2021 Monitoring Report Groundwater/Surface Water

Remedy” dated December 2021). These exhibits identify which contaminants are leaking from the

gypsum stack and flowing through groundwater into the Portneuf River and onto the Reservation.


PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 17
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 18 of 20




Meanwhile, Exhibit 11 (EPA’s and IDEQ’s June 7, 2021 comments) shows that state and federal

government agencies have also identified concerns with groundwater, and Exhibit 12 (Simplot’s

July 2021 Revised Gypsum Stack Expansion Background and Baseline Monitoring Well Drilling

and Installation Work Plan) shows that Simplot identified uncertainties regarding future

contamination.

       Exhibits 3 through 8 address the issue of air contamination: the Simplot Don Plant has

regularly exceeded the State of Idaho’s regulatory standard for air emissions of fluoride from

industrial stacks at the facility. Wright Decl. ¶ 34. See Ex. 3 (September 9, 2016 letters from Monty

Johnson, Simplot Interim Environmental Director, to Jannine Jennings, EPA Region 10, and Rick

Elkins, Idaho Dept. of Environmental Quality, attaching notices to landowners of fluoride

exceedances in forage and a “Fluoride Fact Sheet” explaining symptoms of fluorosis); Ex. 4-5

(December 19, 2008, Letters and Notices of Violation from EPA regarding violations of federally

enforceable permit conditions pertaining to fluoride emissions from the Don Plant); Exs. 6-8

(2019-2021 Annual Fluoride in Forage Reports, Simplot Don Plant, J.R. Simplot Company).

Exhibit 9 and 10 detail RCRA compliance issues at the Simplot plant, and Exhibits 11 and 12

indicate uncertainties regarding potential future contamination, particularly with respect to

groundwater. See Wright Decl. Ex. 9 (Tribes’ March 11, 2019, comments to EPA regarding the

Agency’s National Phosphate Compliance Initiative); Ex. 10 (November 13, 2020 EPA comments

on Idaho’s now vacated Design and Construction of Phosphogypsum Stacks: Docket No. 58-0119-

2001, available at www2.deq.idaho.gov/admin/LEIA/ api/document/download/12678); Ex. 12

(Simplot’s July 2021 Revised Gypsum Stack Expansion Background and Baseline Monitoring

Well Drilling and Installation Work Plan). To the extent the Court would not otherwise be inclined

to consider these documents in support of the Tribes’ standing, they should be judicially noticed.



PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 18
          Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 19 of 20




    IV.      Simplot’s Koulermos and Prouty Declarations are Advocacy Documents
             Unnecessary to the Court’s Consideration of the Tribes’ APA Claims and
             Irrelevant to the Tribes’ Standing, and Should Not be Considered as Support for
             Defendants’ Summary Judgment Responses and Cross-Motions.

             A. The Declarations Should Not Be Considered for the Same Reasons That the
                Court Struck the First Alan Prouty Declaration.
          Previously in this case, Simplot asked the Court to admit an earlier Prouty declaration that

promoted Simplot’s efforts to comply with ongoing enforcement to remediate the historical

pollution at the Simplot site and to redress contamination from operation of the Don Plant. The

Court concluded that the declaration was an advocacy document. See Order, ECF No. 33 at 5.

          For similar reasons, the Court should decline to consider the new Prouty and Koulermos

declarations under the Lands Council exceptions for explaining technical terms or complex subject

matter. In several paragraphs of his new declaration, Prouty quotes and characterizes EPA’s

Second Five-Year Review Report (2020) and its attachments, which is a report attached to the

Wright Declaration to which, ironically, Simplot objects, Simplot Mem. at 12. See Decl. of Alan

Prouty, ECF No. 59-2 ¶¶ 5-11, 13 & 17; Wright Decl., ECF No. 37-9. In places, Prouty reiterates

one of his prior declarations, despite it having been rejected by the Court. Compare ECF No. 59-

2 ¶ 18 n.6, with ECF No. 6-2 ¶¶ 13-14 (characterizing regulatory requirements). Like the original

Prouty declaration, his new declaration and the Koulermos declaration include excerpts and quotes

from the administrative record or other government documents, in an attempt to characterize

portions of the administrative record for the Court. See generally Prouty Decl., Koulermos Decl.,

ECF Nos. 59-2, 59-3. As the Court noted in its previous order, an extra-record declaration may be

included if it assists the Court in explaining technical terms or complex subject matter, but then as

now, Simplot “provides no explanation as to how the affidavit will do so.” See Order, ECF No. 33

at 5.



PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 19
        Case 4:20-cv-00553-BLW Document 75 Filed 10/03/22 Page 20 of 20




       Simplot previously recognized that its extra-record materials, like the initial Prouty

declaration, are not a basis for its opposition to the claims in this lawsuit, which means they are

irrelevant to the Court’s consideration of the merits. See Simplot Reply to Mot. to Consider Decl.,

ECF No. 30 at 7 n.1 (“it is worth quickly clarifying and confirming that Simplot has never taken

the position that the extra-record materials at issue in its Motion are necessary to defend against

the Tribes’ claims.”). Moreover, their declarations are not useful to the Court’s consideration of

the Tribes’ standing. Prouty and Koulermos are not competent to respond to the Tribes’ standing-

related testimony. They are not qualified to testify about Tribal members’ exercise of off-

reservation treaty rights, the course of consultation and technical meetings between the Tribes and

the relevant government agencies, or how the Tribes are subjectively impacted by ongoing

contamination.

                                        CONCLUSION

       For all these reasons, the Court should deny Simplot’s Motion to Strike.

       Dated this 3rd day of October, 2022.

                                      Respectfully submitted,

                                       /s/ Paul C. Echo Hawk
                                      Paul C. Echo Hawk

                                       /s/ Jill E. Grant
                                      Jill Elise Grant

                                      Attorneys for the Shoshone-Bannock Tribes




PLAINTIFF SHOSHONE-BANNOCK TRIBES’ OPPOSITION TO MOTION TO STRIKE
THE DECLARATIONS OF KELLY WRIGHT AND NATHAN SMALL - 20
